                                                        United States District Court
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             5:19-cr-00317-CJC-1

Defendant         Alyssa Rayleen Carcano                                    Social Security No. 3           4    1     8

akas:   Garcia, Leslie Varela                                               (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.         10     19    2020


 COUNSEL                                                                   David R. Reed, CJA
                                                                             (Name of Counsel)

    PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Bank Fraud; Aiding and Abetting and Causing an Act to be Done in violation of 18 U.S.C. § 1344(2),2 as charged
                      in Count One of the Indictment.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that pursuant to the Sentencing Reform Act of 1984, the defendant, Alyssa Rayleen Carcano, be committed on Count One of
  ORDER               the Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of TWENTY-ONE (21) MONTHS.

The defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the
Bureau of Prisons’ Inmate Financial Responsibility Program.

It is further ordered that the defendant shall pay restitution in the total amount of $2,144.81 pursuant to 18 U.S.C. §
3663A.

Defendant shall pay restitution in the total amount of $2,144.81 to victims as set forth in a separate victim list prepared
by the probation office which this Court adopts and which reflects the Court’s determination of the amount of
restitution due to each victim. The victim list, which shall be forwarded to the fiscal section of the clerk’s office, shall
remain confidential to protect the privacy interests of the victims.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least $100.00 during the period of supervised release, which
shall begin 30 days after the commencement of supervision. Nominal restitution payments are ordered as the Court
finds that the defendant's economic circumstances do not allow for either immediate or future payment of the amount
ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specified in the judgment.
The defendant shall comply with Amended General Order 20-04.



CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                               Page 1 of 6
USA vs.     ALYSSA RAYLEEN CARCANO                               Docket No.:   5:19-cr-00317-CJC-1

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is
unable to pay and is not likely to become able to pay any fine.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of THREE (3)
YEARS under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the U. S. Probation & Pretrial Services Office
   and Amended General Order 20-04;

2. During the period of community supervision, the defendant shall pay the special assessment and restitution
   in accordance with this judgment's orders pertaining to such payment;

3. The defendant shall cooperate in the collection of a DNA sample from the defendant;

4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
   one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
   exceed eight tests per month, as directed by the Probation Officer;

5. The defendant shall participate in an outpatient substance abuse treatment and counseling program that
   includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The defendant
   shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
   period of supervision;

6. During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
   counsel, may place the defendant in a residential drug treatment program approved by the United States
   Probation & Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may
   include counseling and testing, to determine if the defendant has reverted to the use of drugs, and the
   defendant shall reside in the treatment program until discharged by the Program Director and Probation
   Officer;

7. The defendant shall participate in mental health treatment, which may include evaluation and counseling,
   until discharged from the program by the treatment provider, with the approval of the Probation Officer;

8. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
   treatment to the aftercare contractors during the period of community supervision. The defendant shall
   provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
   to pay, no payment shall be required;

9. The defendant shall submit her person, property, house, residence, vehicle, papers, computers (as defined in
   18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media,
   email accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s control,
   to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a
   search may be grounds for revocation. The defendant shall warn any other occupants that the premises may
   be subject to searches pursuant to this condition. Any search pursuant to this condition will be conducted at
   a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has violated a
   condition of her supervision and that the areas to be searched contain evidence of this violation;

CR-104 (docx 10/18)                     JUDGMENT & PROBATION/COMMITMENT ORDER                                      Page 2 of 6
USA vs.     ALYSSA RAYLEEN CARCANO                                          Docket No.:       5:19-cr-00317-CJC-1



10. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
    passport or any other form of identification in any name, other than the defendant's true legal name, nor
    shall the defendant use, any name other than the defendant's true legal name without the prior written
    approval of the Probation Officer; and

11. The defendant shall apply monies received from income tax refunds, lottery winnings, inheritance, judgments
    and any other financial gains to the outstanding Court-ordered financial obligation.

The Court recommends that the Bureau of Prisons consider the defendant to participate in the Residential Drug Abuse
Program (RDAP).

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further
redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing
judge.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of defendant’s rehabilitation.

The Court strongly recommends that the defendant be housed in a Southern California facility to facilitate visitation
with family, friends, and loved ones.

On government’s motion, all remaining counts dismissed.

The Court advised the defendant of her right to appeal.


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




          October 19, 2020
           Date                                                  HON. CORMAC J. CARNEY,
                                                                                CARN Y, U. S. District Judge
                                                                                  RNE                     gee
                                                                                                          g

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal
                                                                                                        Marsha
                                                                                                            haal or other qu
                                                                                                            hal           qualified officer.


                                                                 Clerk, U.S. District Court




           October 19, 2020                                By     /s/ Cheryl Wynn
           Filed Date                                            Deputy Clerk


CR-104 (docx 10/18)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 6
USA vs.     ALYSSA RAYLEEN CARCANO                                                Docket No.:     5:19-cr-00317-CJC-1




The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    The defendant must follow the instructions of the probation officer
     her at any time at home or elsewhere and must permit confiscation              to implement the orders of the court, afford adequate deterrence
     of any contraband prohibited by law or the terms of supervision                from criminal conduct, protect the public from further crimes of the
     and observed in plain view by the probation officer;                           defendant; and provide the defendant with needed educational or
8.   The defendant must work at a lawful occupation unless excused by               vocational training, medical care, or other correctional treatment in
     the probation officer for schooling, training, or other acceptable             the most effective manner.
     reasons and must notify the probation officer at least ten days
     before any change in employment or within 72 hours of an
     unanticipated change;




CR-104 (docx 10/18)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                         Page 4 of 6
USA vs.     ALYSSA RAYLEEN CARCANO                                               Docket No.:     5:19-cr-00317-CJC-1



 X The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 5 of 6
USA vs.     ALYSSA RAYLEEN CARCANO                                             Docket No.:        5:19-cr-00317-CJC-1



                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
